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                                   STATEMENT OF FACTS

        Your affiant, Matthew J. Hamel, is a Special Agent assigned to the International Corruption
Squad at the Washington Field Office of the Federal Bureau of Investigation. In my duties as a
special agent, I investigate violations of federal law, including the Foreign Corrupt Practices Act
and the Sherman Act. Currently, I am a tasked with investigating criminal activity in and around
the Capitol grounds on January 6, 2021. As a Special Agent in the Federal Bureau of Investigation
(FBI), I am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        In January 2021, the FBI was provided with a January 8, 2021, letter written by a witness
(Witness 1), identifying HUNTER PALM as an individual who had entered the U.S. Capitol
building on January 6, 2021. Witness 1 identified PALM as a family member. According to
Witness 1’s letter: PALM called Witness 1 from Washington, D.C., on January 6, 2021, and
reported to Witness 1 that PALM had entered the U.S. Capitol Building. PALM reported that when
he arrived on the Capitol grounds, there were police between the crowd and the Capitol building
and, at some point, the police made a gap and allowed the crowd and PALM to enter the building.
While inside, PALM said he walked around inside the building, looked at statues, and eventually
entered a conference room with a long table and several chairs where he sat to rest. PALM reported
that he attempted to leave the Capitol building soon afterward by climbing out of a broken window
to avoid a flow of people entering through the doors.

        On February 6, 2021, FBI agents interviewed PALM with his legal counsel present. During
that interview, PALM admitted to entering the U.S. Capitol building on January 6, 2021. He
provided the FBI with the cellular phone he claimed he had at the Capitol and explained that he
had removed all Capitol-related content from the phone and placed it on a flash drive. PALM then
gave that flash drive to the FBI, and it contained videos PALM recorded on January 6, 2021.
PALM also showed the FBI where he had entered and exited the U.S. Capitol building. Finally,
PALM brought the clothes he was wearing on January 6, 2021, to the interview: a gray Levi-
Strauss-branded hooded sweatshirt, with light blue jeans, a black hat with a white American flag
with a blue stripe in the middle, and a blue and red flag with white stars and the words “TRUMP”
and “Keep America Great.”

        In one video provided by PALM, he and others approach the Capitol building up a set of
stairs and walk toward an entrance on the East side of the House side of the Capitol. As PALM
approaches the entrance, he can be heard shouting “Stop the Steal!,” based on his location in
relation to the camera, the related decibel level of the shouting, and the consistency in the
recorder’s voice throughout the videos PALM provided. In another video, PALM can be seen
entering the building through an open doorway. As he enters, he can be heard stating: “We’re in
the Capitol building.”

        In his interview with the FBI on February 6, 2021, PALM stated that he was pushed into a
door and into the Capitol building. PALM’s entrance into the Capitol building was captured on
U.S. Capitol surveillance footage. In the surveillance footage, PALM is seen freely walking into
the Capitol building and holding his phone up as if to record his surroundings, and no individuals
are seen immediately behind him pushing. PALM then freely continues into the Capitol building
and waves his lit cellular phone in a rhythmic fashion as if to be chanting along with other members
of the crowd also waving their arms. One of the videos PALM recorded also captures PALM’s
entrance into the Capitol building, and the camera shakes as seen in the surveillance footage as if
PALM is joining chants of “Whose house? Our house!” A screenshot of the surveillance footage
is below in Figure One with a red circle around PALM in the black hat and the space behind him.
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                                           Figure One
        In other videos PALM recorded, he and a large crowd of individuals stand inside the Crypt
of the U.S. Capitol building. In these videos, U.S. Capitol Police officers can be seen attempting
to maintain order and preventing the crowds from crossing the center of the Crypt. A screenshot
of one of these videos is included below as Figure Two.




                                           Figure Two
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        PALM’s presence in the Crypt of the U.S. Capitol was also captured on U.S. Capitol
surveillance footage, as reflected in the below screenshots in Figure Three below with red arrows
and circles highlighting PALM.




                                          Figure Three

        In another video, PALM is part of a crowd that appears to push past a law enforcement
officer to move further into the Capitol. A screenshot from this video is below in Figure Four.




                                              Figure Four
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       In another video PALM recorded, he and others walk through a hallway inside the Capitol,
while some in the crowd call out for “Nancy,” in an apparent reference to Speaker of the U.S.
House of Representatives Nancy Pelosi. One individual shouts “Where are you?,” and another can
be heard stating “We’re gonna kill her.” PALM and the crowd approach a closed door marked
“OFFICE OF THE SPEAKER.” Screenshots from that video are displayed below in Figure Five.




                                          Figure Five

        In the video, other rioters open the door and someone shouts “Come on you cunt Pelosi,
get the fuck outta here.” PALM then enters the Speaker’s Conference Room and can be heard
asking, “You guys want a tour?” PALM then walks around the conference room and records the
screen of an open laptop sitting on a conference table. The username displayed on the laptop was,
in part, “Spk.ConferenceRoom[redacted].” While approaching the laptop, PALM can be heard
asking “Who’s good at hacking? Who’s good at hacking?” A screenshot from PALM’s video
reflecting the laptop is displayed below in Figure Six, with part of the screenshot redacted.
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                                             Figure Six

        Finally, PALM sits down at the head of the conference table, puts his feet up on the table,
and can be heard saying, “I think I like my new dining room. I pay for it.” In addition to PALM’s
own video, an open-source video captures PALM inside the Speaker’s Conference Room and
sitting at the table while he holds his phone up. 1 PALM is wearing the same attire seen in
surveillance footage which matches the clothing he provided to the FBI, and he is sitting near the
laptop he had just previously recorded. A screenshot of that video is below in Figure Seven, and
PALM is seen in the center of the screenshot circled in red.




1
  See https://www.newsflare.com/video/402653/mob-incited-by-trump-storms-interior-of-capitol-
including-offices-of-mcconnell-and-pelosi-in-terrifying-act (last accessed on April 28, 2021).
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                                           Figure Seven

        In other videos PALM recorded, PALM is standing on a Capitol building terrace
overlooking the Eastern side of the Capitol and facing the National Mall. At one point, PALM
shouts to the crowds below, “Watch out for the tear gas!”

       Based on the foregoing, your affiant submits that there is probable cause to believe that
HUNTER PALM violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or
impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional
proceedings are official proceedings.

        Your affiant submits there is also probable cause to believe that HUNTER PALM violated
18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do; and (2) knowingly, and with intent
to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions; or attempts or conspires to do so. For purposes of Section 1752 of
Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
building or grounds where the President or other person protected by the Secret Service, including
the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.

       Your affiant submits there is also probable cause to believe that HUNTER PALM violated
40 U.S.C. § 5104(e)(2)(C), (D), and (G), which makes it a crime to willfully and knowingly (C)
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with the intent to disrupt the orderly conduct of official business, enter or remain in a room in any
of the Capitol Buildings set aside or designated for the use of—(i) either House of Congress or a
Member, committee, officer, or employee of Congress, or either House of Congress; or (ii) the
Library of Congress; (D) utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; (G) parade, demonstrate, or picket in any of
the Capitol Buildings..




                                                      _________________________________
                                                      MATTHEW J. HAMEL
                                                      SPECIAL AGENT, FBI


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 7th day of May 2021.                                        Digitally signed by G.
                                                                        Michael Harvey
                                                                        Date: 2021.05.07
                                                                        13:50:08 -04'00'
                                                      ___________________________________
                                                      HON. G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
